Case: 1:04-cv-06659 Document #: 1 Filed: 10/15/04 Page 1 of 9 PagelD #:1

 

 

 

 

 

 

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i & “se UNITED STATES DISTRICT COURT DGGKETED
&~ A SS FOR THE NORTHERN DISTRICT OF ILLINOIS Oct 8
~ | L&é EASTERN DIVISION QU .78 2004
£ Ss
RSDIA KOLFMAN (plantif£é #1) )
ae oo )
EUGENE KOIFMAN (plantiff #2) )
T ? : ° ) . ! Q
. ) CIVIL ACTION
(Name of the plaintiff or plaintiffs)
DOMINICK's RANER FOOD, INC. ) NO.
711 Jorie Boulevard?0ak BroakI11, 60528 Jury trial demandéa’ be
AY aA Ky Le ig ,
store manager Mike Sullivan (def. #1) Oa
store ‘agent Reschke Herbert (def.#2) ).
Jost_prevention officer Latoya L.Hills MATHSTRATE HIDOS we ys,
(Name of the defendant-or defendants) ) aes whee BV
. (defendant #3)
COMPLAINT
INTRODUCTORY STATEMENT
l. This -is civil action seeking money damages against store manager Mike

Sullivan (defendant#1), store agent Reschke Herbert (defendant#2),lost preve

ntion officer Latoya L. Hills emploeeyes of Dominick's Finer Food,Inc. for
violation of plantiffs constitutional rights by defendants, initiating and

axecuting a search of plantiff’ person body,plantiff's property,arrest without

proubable cause in violation, of plantiffs constitutional rights.

2. Thisyaction is brought pursuant to U.S.C. Sections 1983 and 1988 for -
violation ‘of the Fourth and Fourteenth Amendments to the United States

Constitution. The court’ has jurisdiction of this action under 42 U.S.C.
Section 1983,Section,28 U.S.C. Section 1343, 28 U.S.C. Section 1331.
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a

PARTIES

3. Plantiffs are citizens and resudents of the city of Evanston, state of
Tllinois,and the United States of America.

4.At all times referred to herein, defendants store manager Mike Sullivan
(defendant#1},store agent Reschke Herbert (defendant#2), lost prevention
officer) stoya L. Hills(defendant#3) were employed by Dominick's Finer

Food, Inc.

5. Plantiffs sue defendants store manager Mike Sullivan, store agent
Reschke Herbert,lost. prevention officer Latoya L. Hills in their individual

capasities.

6. At all times referred to herein, defendants store manager Mike

Sullivan,store agent Reschke Herbert, lost prevention officer Latoya
L. Hills acted wnder color of the laws, statutes, ordinances, regulations
policies, customs and. usages of the state of Illinois and the city

eity of Chicago.

CAUSE OF ACTION

For their cause of action against defendants store manager Mike Sullivan
(defendant#1),store agent Reschke Herbert (defendant#2),lost prevention
officer Latoya H. Hills (defendant #3) plantiffs state:

/
7.By this reference, plantiffs incorporate each and every allegation

and avertment contained in Paragraphs 1 through 6 though fully set
forth herein.

8. On October 15, 2003 at.approximately 3p.m. and 4p.m.,defendants

store manager Mike Sullivan(defendant#1),store agent Reschke Herbert
(defendant#2),lost prevention officer Latoya L.Hills(defendant#3) employees
Dominick's Finer Food, Inc. of the -"

 
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age

city of Chicago,located at 1698-1743 W.Howard,snatched Lidia Koifman
(plantiff#1),handbag,violently pushed Lidia Koifman into the store from

the lady restroom and apprehended Lidia (plaintiff#1).

a. Latoya L, Hillis (defendant#3) was without identification badge,
declared,that defendants:store manager Mike Sullivan (defendant#1),

store agent Reschke Herbert (defendant#2) catched Lidia Koifman (pl1#1),

who,s Russian thief,prostitute,drug user.
b Store agent Reschke (defendant#2) follow direction of store manager

M. Sullivan (anale defendent#1) painful twisted and wrung behiend back,

Lidia Koifman (female plantiff#1)'hands,constricted Lidia(female pl.#1)'
wrists by handcuffs and jostle apprehended Lidia(pl.#1) in room

with locked door,

b;- Store agent Reschke H.(male defendant#2) searched Lidia(female pl#i)'

removed Lidia'permanent cardiac pacemaker I.D. card,Lidia's money,
Lidia's I.D.cards including driver's license, Lidia's other cards,
Lidia's keys, phonecell.’

Defendants :store manager Mike Sullivan (male defendant #1), store
agent Reschke Herbert (male defendant #2), Latoya L. Hills (defendant #3)
did not answer plantiff,what Lidia's fault, why Lidia (plantiff#i)

searched and handcuffed.

b,;- Latoya L. Hills (defendant #3) went from this locked room(later

called security ) with Lidia Koifman (plantiff #1) 'money, documents,
keys.

Store agent black dressed uniform Reschke H.{male defendant#2)

 

 

 
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did more constrictly handcuffs on Lidia K.(female plantiff #4)

wrists,knocked Lidia(female Plantiff #1) down on floor,Reschke
Herbert (male defendant #2) used: foul language,strongly touched ,
examinated, seised Lidia (female plantiff #1)' body(private areas).
Store agent Reschke Herbert ( male defendant #2) caused Lidia

Koifman (Female plantiff #1} big: wring. Lidia KOifman lost

consciosness,

c, Lidia Koifman (female plantiff #1) came to one-self, saw,
she lies in floor’ alleged security room of Dominick's, room with

locked door and Assian policeman thrash Lidia Koifman

(female plantiff #1) inthe face by rolled magazine, used

bad language and other White poliseman stayed with his

(
foot on Lidia Koifman(female plantiff #1)' body. Lidia

Koifman lost consiousness,

C3. When Lildia(female plantiff #1) had open eyes, saw

that White policeman heavely shaked her, then White policeman
violently wrung sone! Lidia (female plantiff #1) 'handctiffed hands
behiend the back, bend over almost folded Lidia twice, pinion
Lidia! fingers, pushed Lidia Koifman (plantiff #1) out the

security room of Dominick's.

c;,- Lidia Koifman (female plantiff #1) saw then, as Assian Young

policeman was hold her husband Eugene Koifman (Pplantiff#2)'throat by
sone hand and punched Lidia'husband, Eugene, at mediastinum by second

fist. Assian policeman commanded Eugene(plantiff#2):Do not talk to Police!
Lidia(female plantiff#l)continue to pleade:Do not torture her, Lidia's

husband(senior citizen plantiff#2),he(Eugene Koifman) has heart problem.
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Citi White policeman. . striked Lidia Koifman’ (female Plaintiff #1) with

all one's might of trunk of police squad car, then white polixeman

throw Lidia Koifman ( female Plaintiff #1) inside poli cecar.

No one answer to Lidia Koifman ( female Plaintiff #:/1) what

Lidia -guilt, why Lidia arrested.

d. Eugene Koifman ( plaintiff #2) Was entered for shepping
Dominick's Store at location 1698 -1743 W.Howard approximately between
3 pm and 4 pm later 15 min after his wife Lidia Koifman ( Plain -

tiff #1).
Eugene Koifman ( Plaintiff #2) did not see his wife Lidia
in the store. Eugene Koifman ( Plaintiff #2) was ask of customer

desk :about his disabled, religious wife Lidia.

di: Store manager Mike Sullivan ( Defendant #1 ) immediately directed
Store agent Herbert Reschke ( Defendant #2} to grip Eugene Koifman
( Plaintiff #2? ).

Store agent Herbert Reschke, dressed at black uniform ( Defen -
dant #2), grabbed Eugene Koifman ( Plaintiff #2) for an Eugene's
sholder from behiend, turned Eugene Koifman, shaked him and beat
Eugene Koifman on each side, used his Herbert Reschke ( Defendant
#2)" elbows.

Store agent Herbert Reschke ( Plaintiff #2 )} had an excited
( sex ) apperance, Eugene Koifman believed, Eugene Koifman ( Plain -
tiff #2 ) remain to stay calm, Eugene only ask: why you beat mea? -

and Store manager Mike Sullivan ( Defendant #1) allowed Store agent
Herbert Reschke / ( Defendant #2 ) stop beating Eugene.

dii. Right here, opposite to standing Eugene Koifman ( Plaintiff #2 ),

door.. opened and Eugene saw his wife Lidia Koifman ( Plaintiff #1 )

lies down on the floor of this locked room.
Than Store manager Mike Sullivan ( Defendant #1) ruled the

roost, that policemen have to throw out the store Eugene Koifman

( plaintiff #2).
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At this time Assian Young policeman lashed Eugene Koifman's
( plaintiff #2 ) wife Lidia Koifman ( plaintiff #1) fase and white

Young policeman stayed with his boot on Lidia ' body.

After this the White Young policeman approached Eugene kKoifman
( plaintiff #2 ) grasped Eugene, seised FEugene' neck, heavily cuffed
Eugene' head by second White policeman'arm, chucked Eugene out the

store,

White young policeman transfered Eugene Koifman ( plaintiff #2 )
to Assian young policeman, who's cutch Eugene’ throat by policeman'arm,
chocked, stopped Eugene airway and by second policeman'arm punched

Eugene' heart area.

Then assian young policeman continued chocke Eugene Koifman
{plaintiff #2), squizzed out Eugene' eyeballs by policeman' fingers of
second arm, repeatedly said: Do not talk Police! Do not enter

the Store!

diii- When Assian Young policeman freed Eugene Koifman (plaintiff #2)'

eyes, Eugene saw, what White Young policeman dragged bended down

his wife Lidia Koifman (plaintiff #1), handcuffed behind the back.
White Young policeman casted with all one's might Lidia

Koifman (plaintiff #1) at trunk of policecar, then White Young po -

liceman threw Lidia Koifmah {plaintiff #1) in policecar and moved out.
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9, On December 2003 Lidia Koifman (Plaintiff #1) received only
opportunity see Dominick's report about October 15 - 2003, this in-.

vention had tendency to deceive and mislead authorities, to justify
accomodation collar activity, named surviellance camera function in-
side Dominick's Finer Food Store (location 1698 - 1743 W.Howard,

Chicago), that camera captured Lidia Koifman (Plaintiff #1),

10. As a direct and proximate result of the concerted Lady?
washroom action of examination and inspection Plaintiff' body and
her property without Authority of Law, and of the act of in-
citing policemen do particular rage deed against Plaintiffs as
described above, Plaintiffs suffered and continue to suffer severe
injury, mental anguish and emotional trauma in connection with
the deprivation of Plaintiffs constitutional rights guarranteed
them by the Fourth and Fourteenth Amendments of the Constitution

of the United States and protected by 42 U.S.C. Section 1983.

Mh. Defendants: © Store Manager Mike Sullivan (Def #1)
Store agent Herbert Reschke (Def #2)
Lost prevention officer Latoya L, Hills (Def #3)

acted unreasonably, aggravetive, provocative, hate motivated and in

reckless disregard for the truth.

12. As result of defendants acts as described above, defendants
deprived plaintiffs of their right to be free from unlawful searches,
seizures, falce arrest, in violation of Fourth Amendment

to the Constitution of the United States,

 

 
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13, As direct and proximate result of the defendant" actions as described above
plantiffs suffered special damages and will suffer additional special damages

in the future in amount cannot yet be determined.

14. The acts of defendants as described above intentional,obstructive, wanton,

malicious,cruel and oppresive,thus entitling plantiffs to an award of punitive

damages.

WHEREFORE, plantiffs, and each of them,pray for judgment against defendants
store manager Mike Sullivan,store agent Reschke Herbert, lost prevention officer

Latoya L. Hills,jointly and severally,for compensatory damages in amount proved

rial . : ‘
at tria *plus costs of this action,attorney,s fees and such other relief as

the court deems fair and appropriate under the circumstances.

(Plaintiff's signature) .

rm -/) 4A
lien) Ebr Bfowe
|

J
(Plaintiff's name) . ( .
/ U

LIDIA KOIFMAN, EUGENE KOIFMAN

oF

(Plaintiff's street address)

aoe. v= 612 SHERMAN AV,

te

 

EVANSTON

(City) (Statep bE INOTS (ZIP) 60202

 

(Plaintiff's telephone number) C47) 492~ 0201

Date: October 4, 2004

 
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CIVIL. COVER SHEET

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(b) County of Residence of First Listed Plaintiff

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(SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

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DEFENDANTS J es Foe
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NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.
(c) Attomey’s (Firm Name, Address, and Telephone Number) Attomeys CF Known) ne, Hack

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IL. BASIS OF JURISDICTION (Place an “X" in One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIES Place an“X" in One Box for Plaintiff
(For Diversity Cases Only), CACBIR YE APE ETRY 20,0 one: ve Bw: po peenson ae
D1 U.S. Government 68.3 Federal Question Citizen of This State oO} oi 1 Incorporated or Principal Place O 4 O84
Plaintiff (U.S. Government Not a Party) of Business In This State
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Defendant (ndicate Citizenship of Parties of Business ln Another State
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Citizen or Subjectofa 013 03 Foreign Nation O06 O6
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IV. NATURE OF SUIT __(Place an “X” in One Box Only) _
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
O 110 Insurance PERSONAL INJURY PERSONAL INJURY |0 610 Agriculture O 422 Appeal 28 USC 158 (1) 400 State Reapportionment
0 120 Marine OO 310 Anplane (1 362 Personal Injury— O 620 Other Food & Drug OO 410 Antitrust
O 130 Miller Act OO 315 Airplane Product Med. Malpractice O 625 Dmg Related Seizure |) 423 Withdrawal! .L} 430 Banks and Banking
C1 140 Negotiable Instrument Liability C) 368 Personal Injury — of Property 21 USC 28 USC 157 D 450 Commerce/ICC Rates/etc.
{7 150 Recovery of Overpayment|) 320 Assault, Libel & Product Liability C1 630 Liquor Laws 41) 460 Deportation
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O 151] Medicare Act 1 330 Federal Employers’ Injury Product 1 650 Airline Regs. CO 820 Copyrights Corcupt Organizations
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(Excl, Veterans) (1 345 Marine Product 2 370 Other Fraud O 690 Other Exchange
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D 550 Civil Rights Security Act 26 USC 7609
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PLACE AN “X” IN ONE BOX ONLY Appeal to
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f21 Original O 2 Removed from O3  Remanded from OO) 4 Reinstated op C1 5 another district O16 Multidisrict =O 7 Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment
VI. CAUSE OF ACTION (Cite the U.S, Civil Statute under which you are Filing and LL | brief stajement “Gone AL cause. cep y vt te Ow ang f Hip wot

Do nol cite jurisdictional statules unless diversity.)

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VIL. REQUESTED IN
COMPLAINT:

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JARCHECK IF THIS IS A CLASS ACTION
UNDER F.R.C.P.23

VIII. This case
is a refiling of case

CHECK YES only if demanded in complaint:
JURY DEMAND: Miyves ONo

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is not a refiling of a previously dismissed action.

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SIGNATURE OF ATTORNEY OF RECORD

 
